Case 5:07-cr-04095-LTS-KEM   Document 82   Filed 09/05/08   Page 1 of 6
Case 5:07-cr-04095-LTS-KEM   Document 82   Filed 09/05/08   Page 2 of 6
Case 5:07-cr-04095-LTS-KEM   Document 82   Filed 09/05/08   Page 3 of 6
Case 5:07-cr-04095-LTS-KEM   Document 82   Filed 09/05/08   Page 4 of 6
Case 5:07-cr-04095-LTS-KEM   Document 82   Filed 09/05/08   Page 5 of 6
Case 5:07-cr-04095-LTS-KEM   Document 82   Filed 09/05/08   Page 6 of 6
